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                                                     ACCO,(JCx),CLOSED,DISCOVERY,MANADR,TRANSFERRED
                         UNITED STATES DISTRICT COURT
            CENTRAL DISTRICT OF CALIFORNIA (Eastern Division − Riverside)
                 CIVIL DOCKET FOR CASE #: 5:23−cv−01264−SSS−JC

Jessica Nungaray v. Awesome Life Group, LLC                         Date Filed: 06/29/2023
Assigned to: Judge Sunshine Suzanne Sykes                           Date Terminated: 10/31/2023
Referred to: Magistrate Judge Jacqueline Chooljian                  Jury Demand: Plaintiff
Cause: 28:1331 Fed. Question                                        Nature of Suit: 480 Consumer Credit
                                                                    Jurisdiction: Federal Question
Plaintiff
Jessica Nungaray                                      represented by Alexander James Adducci Taylor
                                                                     Sulaiman Law Group Ltd
                                                                     2500 South Highland Avenue, Suite 200
                                                                     Lombard, IL 60148
                                                                     630−575−8181
                                                                     Fax: 630−575−8188
                                                                     Email: alejandrof@sulaimanlaw.com
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED


V.
Defendant
Awesome Life Group, LLC                               represented by Dan Leroy Longo
                                                                     Murchison and Cumming LLP
                                                                     801 South Grand Avenue 9th Floor
                                                                     Los Angeles, CA 90017−4613
                                                                     213−623−7400
                                                                     Fax: 213−623−6336
                                                                     Email: dlongo@murchisonlaw.com
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                                                                    Gina E Och
                                                                    Murchison and Cumming LLP
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                                                                    Ronald Balfour
                                                                    Amundsen Davis LLC
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                                                                    PRO HAC VICE
                                                                    ATTORNEY TO BE NOTICED
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Date Filed     #    Docket Text

06/29/2023    Ï1    COMPLAINT Receipt No: ACACDC−35582565 − Fee: $402, filed by Plaintiff Jessica Nungaray.
                    (Attachments: # 1 Civil Cover Sheet, # 2 Summons) (Attorney Alexander James Adducci Taylor
                    added to party Jessica Nungaray(pty:pla))(Taylor, Alexander) (Entered: 06/29/2023)

06/29/2023    Ï2    CIVIL COVER SHEET filed by Plaintiff Jessica Nungaray. (Taylor, Alexander) (Entered:
                    06/29/2023)

06/29/2023    Ï3    NOTICE of Interested Parties filed by Plaintiff Jessica Nungaray, (Taylor, Alexander) (Entered:
                    06/29/2023)

06/29/2023    Ï4    Request for Clerk to Issue Summons on Complaint (Attorney Civil Case Opening) 1 filed by
                    Plaintiff Jessica Nungaray. (Taylor, Alexander) (Entered: 06/29/2023)

06/29/2023    Ï5    NOTICE OF ASSIGNMENT to District Judge Sunshine Suzanne Sykes and Magistrate Judge
                    Jacqueline Chooljian. (ghap) (Entered: 06/29/2023)

06/29/2023    Ï6    NOTICE TO PARTIES OF COURT−DIRECTED ADR PROGRAM filed. (ghap) (Entered:
                    06/29/2023)

06/29/2023    Ï7    Notice to Counsel Re Consent to Proceed Before a United States Magistrate Judge. (ghap)
                    (Entered: 06/29/2023)

06/29/2023    Ï8    21 DAY Summons Issued re Complaint (Attorney Civil Case Opening) 1 as to Defendant
                    Awesome Life Group, LLC. (ghap) (Entered: 06/29/2023)

06/30/2023    Ï9    CIVIL STANDING ORDER by Judge Sunshine Suzanne Sykes. (iva) (Entered: 06/30/2023)

07/11/2023   Ï 10   PROOF OF SERVICE Executed by Plaintiff Jessica Nungaray, upon Defendant Awesome Life
                    Group, LLC served on 7/7/2023, answer due 7/28/2023. Service of the Summons and Complaint
                    were executed upon Itzel Ruiz in compliance with Federal Rules of Civil Procedure by personal
                    service (Taylor, Alexander) (Entered: 07/11/2023)

08/03/2023   Ï 11   (IN CHAMBERS) Order to Show Cause re Dismissal for Lack of Prosecution by Judge Sunshine
                    Suzanne Sykes: The Court, on its own motion, hereby orders Plaintiff to show cause in writing on
                    or before August 17, 2023, why this action should not be dismissed, with respect to each Defendant
                    who has not filed an answer or otherwise responded to the complaint. Pursuant to Rule 78 of the
                    Federal Rules of Civil Procedure, the court finds that this matter is appropriate for submission
                    without oral argument. This Order to Show Cause will be discharged if Plaintiff files, before the
                    deadline set forth above, a request for the entry of default with respect to the applicable
                    Defendant(s). Fed. R. Civ. Proc. 55(a). IT IS SO ORDERED. (shb) (Entered: 08/04/2023)

08/07/2023   Ï 12   REQUEST for Clerk to Enter Default against Defendant Awesome Life Group, LLC filed by
                    Plaintiff Jessica Nungaray. (Attachments: # 1 Affidavit of Alexander J. Taylor, # 2 Proposed
                    Order) (Taylor, Alexander) (Entered: 08/07/2023)

08/11/2023   Ï 13   RESPONSE filed by Defendant Awesome Life Group, LLCto REQUEST for Clerk to Enter
                    Default against Defendant Awesome Life Group, LLC 12 (Attachments: # 1 Declaration
                    Declaration of Brandon Weaver)(Och, Gina) (Entered: 08/11/2023)

08/14/2023   Ï 14   NOTICE of Appearance filed by attorney Gina E Och on behalf of Defendant Awesome Life
                    Group, LLC (Attorney Gina E Och added to party Awesome Life Group, LLC(pty:dft))(Och, Gina)
                    (Entered: 08/14/2023)

08/16/2023   Ï 15   NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Document RE: Notice of
                    Appearance 14 . The following error(s) was/were found: Incorrect event selected. Correct event to
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                    be used is: Notice of Appearance or Withdrawal of Counsel G123.. In response to this notice, the
                    Court may: (1) order an amended or correct document to be filed; (2) order the document stricken;
                    or (3) take other action as the Court deems appropriate. You need not take any action in response to
                    this notice unless and until the Court directs you to do so. (ak) (Entered: 08/16/2023)

08/17/2023   Ï 16   MINUTES ORDER (IN CHAMBERS) DENYING PLAINTIFF'S REQUEST FOR ENTRY OF
                    DEFAULT [DKT. 12] by Judge Sunshine Suzanne Sykes. In view of the aforementioned,
                    Plaintiff's Request [Dkt. 12] is hereby DENIED. Defendant's response to the Complaint is due on or
                    before September 15, 2023. Furthermore, the Court hereby DISCHARGES the Order to Show
                    Cause [Dkt. 11] issued on August 3, 2023. (lom) (Entered: 08/17/2023)

09/15/2023   Ï 17   NOTICE OF MOTION AND MOTION to Dismiss Case OR, IN THE ALTERNATIVE, MOTION
                    TO TRANSFER; MEMORANDUM OF POINTS AND AUTHORITIES filed by Defendant
                    Awesome Life Group, LLC. Motion set for hearing on 10/13/2023 at 02:00 PM before Judge
                    Sunshine Suzanne Sykes. (Attachments: # 1 Declaration DECLARATION OF BRANDON
                    WEAVER IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE, MOTION
                    TO TRANSFER, # 2 Exhibit Exhibit A to Declaration, # 3 Proposed Order [PROPOSED] ORDER
                    GRANTING DEFENDANT AWESOME LIFE GROUP, LLCS MOTION TO DISMISS OR, IN
                    THE ALTERNATIVE, MOTION TO TRANSFER) (Och, Gina) (Entered: 09/15/2023)

09/21/2023   Ï 18   NOTICE OF MOTION AND MOTION for Extension of Time to File Response to Defendant's
                    Motion to Dismiss filed by Plaintiff Jessica Nungaray. Motion set for hearing on 10/27/2023 at
                    02:00 PM before Judge Sunshine Suzanne Sykes. (Attachments: # 1 Proposed Order) (Taylor,
                    Alexander) (Entered: 09/21/2023)

09/25/2023   Ï 19   ORDER ON UNOPPOSED MOTION TO EXTEND DEADLINE TO FILE RESPONSE TO
                    MOTION TO DISMISS by Judge Sunshine Suzanne Sykes. Plaintiff shall have until October 13,
                    2023 to file a Response to Defendants Motion to Dismiss. Defendant shall be allowed an
                    opportunity to file a reply to Plaintiffs Response to its Motion to Dismiss by October 27, 2023. The
                    hearing set for Defendant's Motion to Dismiss will be adjourned to November 3, 2023, at 2:00 p.m.
                    (rolm) (Entered: 09/26/2023)

10/09/2023   Ï 20   APPLICATION of Non−Resident Attorney Ronald Balfour to Appear Pro Hac Vice on behalf of
                    Defendant Awesome Life Group, LLC (Pro Hac Vice Fee − $500 Fee Paid, Receipt No.
                    ACACDC−36185853) filed by Defendant Awesome Life Group, LLC. (Attachments: # 1
                    Certificate of Good Standing − Supreme Court of Illinois, # 2 Certificate of Good Standing
                    Appellate Division of the Supreme Court, # 3 Proposed Order on Application of Non−Resident
                    Attorney to Appear in a Specific Case Pro Hac Vice) (Och, Gina) (Entered: 10/09/2023)

10/10/2023   Ï 21   FOR COURT USE ONLY: STATISTICAL CORRECTION granting Unopposed Motion [Dkt. 18 ]
                    per Order [Dkt. 19]. (iva) (Entered: 10/10/2023)

10/12/2023   Ï 22   ORDER by Judge Sunshine Suzanne Sykes: GRANTING 20 Non−Resident Attorney Ronald
                    Balfour APPLICATION to Appear Pro Hac Vice on behalf of Defendant, Defendant Awesome
                    Life Group, LLC, designating Gina E. och as local counsel. (shb) (Entered: 10/12/2023)

10/13/2023   Ï 23   NOTICE OF NON−OPPOSITION to NOTICE OF MOTION AND MOTION to Dismiss Case OR,
                    IN THE ALTERNATIVE, MOTION TO TRANSFER; MEMORANDUM OF POINTS AND
                    AUTHORITIES 17 filed by Plaintiff Jessica Nungaray. (Taylor, Alexander) (Entered: 10/13/2023)

10/27/2023   Ï 24   REPLY in support of NOTICE OF MOTION AND MOTION to Dismiss Case OR, IN THE
                    ALTERNATIVE, MOTION TO TRANSFER; MEMORANDUM OF POINTS AND AUTHORITIES
                    17 filed by Defendant Awesome Life Group, LLC. (Balfour, Ronald) (Entered: 10/27/2023)

10/31/2023   Ï 25   MINUTES (IN CHAMBERS) ORDER GRANTING DEFENDANT'S UNOPPOSED MOTION
                    TO TRANSFER 17 by Judge Sunshine Suzanne Sykes. The motion is GRANTED. This matter is
                    TRANSFERRED to the Western District of Pennsylvania for all further proceedings. The hearing
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on the motion set for November 3, 2023 is VACATED. ( MD JS−6. Case Terminated ) (rolm)
(Entered: 10/31/2023)
